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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  MIKE BRINKMAN,

        Plaintiff,

  v.                                        Case No. 8:20-cv-2453-T-33AAS

  EQUIFAX INFORMATION SERVICES LLC
  and ACCOUNT RESOLUTION SERVICES,
  LLC,

       Defendants.
  ______________________________/

                         ORDER APPOINTING MEDIATOR

        Pursuant to the Notice of Mediation (Doc. # 20), filed

  on   December    4,    2020,   and   in    accordance   with   the   rules

  governing mediation set forth in Chapter Nine of the Rules of

  the United States District Court for the Middle District of

  Florida, it is ORDERED that the following individual is hereby

  APPOINTED by the Court to serve as Mediator in this action:

        Name of Mediator:        Peter J. Grilli, Esq.

        Address:                 3001 W. Azeele Street
                                 Tampa, FL 33609

        Telephone:               (813) 874-1002

        By agreement of the parties, the mediation conference is

  scheduled for March 11, 2021, at the location listed above.

        The parties are directed to mediate in good faith and to

  fully and faithfully explore every settlement opportunity.
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  Furthermore, the Court directs that all counsel, parties,

  corporate representatives, and any other required claims

  professionals shall be present at the mediation conference

  with full authority to negotiate a settlement. The Court does

  not   allow   mediation    by   telephone   or   video   conference.

  Personal attendance is required. See Local Rule 9.05(c).

        Now that the mediation has been scheduled, the parties

  may not unilaterally reschedule the mediation conference — a

  motion must be filed, and leave of Court obtained, if they

  seek to reschedule the mediation. In the motion to reschedule,

  counsel must include the proposed date of rescheduling; the

  Court reserves the right to deny any motion that seeks to

  reschedule the mediation conference for a date beyond the

  mediation deadline previously set by the Court.

        Furthermore, neither party may cancel the mediation

  without first obtaining leave of Court, even if the parties

  have reached a settlement.

        DONE and ORDERED in Chambers in Tampa, Florida, this 4th

  day of December, 2020.
